       Case 19-34054-sgj11 Doc 216 Filed 12/09/19               Entered 12/09/19 11:13:10           Page 1 of 1




 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed December 9, 2019
______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Highland Capital Management, L.P.                          §    Case No.: 19−34054−sgj11
                                                           §    Chapter No.: 11
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
     The Court, having considered the Application for Admission Pro Hac Vice of Jeffrey N. Pomerantz, to
represent Highland Capital Management, L.P., related to document #190, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
